          Case 1:19-cv-10805-LAK Document 15 Filed 02/21/20 Page 1 of 3



UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

                                                :
ALLEN PAPOUBAN,
                                                :
                                                    Case No. 1:19-cv-10805-LAK
                        Plaintiff,              :
                                                :   NOTICE OF VOLUNTARY
                  vs.                               DISMISSAL
                                  :
RA PHARMACEUTICALS, INC., EDWARD
T. MATHERS, ROBERT HEFT, TIMOTHY :
R. PEARSON, RAJEEV SHAH, AOIFE M.
BRENNAN, ALEXANDER CUMBO, and     :
DOUGLAS A. TRECO,
                                  :
             Defendants.
                                  :


       Notice is hereby given that, pursuant to Rule 41(a)(1)(A)(i) of the Federal Rules of Civil

Procedure, Plaintiff Allen Papouban (“Plaintiff”) voluntarily dismisses the above-titled action

(the “Action”).


       WHEREAS, on November 21, 2019, Plaintiff filed a complaint asserting federal

securities claims under Sections 14(a) and 20(a) of the Securities Exchange Act of 1934 and

Securities and Exchange Commission Rule 14a-9 (the “Complaint”) against Defendants Ra

Pharmaceuticals, Inc. (“Ra”), Edward T. Mathers, Robert Heft, Timothy R. Pearson, Rajeev

Shah, Aoife M. Brennan, Alexander Cumbo and Douglas A. Treco (the “Individual Defendants,”

collectively with Ra, the “Defendants,” and Defendants, together with Plaintiff, the “Parties”);


       WHEREAS, the Complaint challenges the disclosures in the Schedule 14A Definitive

Proxy Statement filed with the Securities and Exchange Commission (the “SEC”) on November

15, 2019, in connection with the proposed merger of Ra and UCB S.A. (the “Proposed

Transaction”);
          Case 1:19-cv-10805-LAK Document 15 Filed 02/21/20 Page 2 of 3



       WHEREAS, on December 6, 2019, Ra filed Form DEFA14A with the SEC that

contained certain additional information that addressed and mooted many of the claims set forth

in the Complaint (“Supplemental Disclosures”);


       WHEREAS, shareholders of Ra voted to approve the Proposed Transaction on December

17, 2019 (the “Shareholder Vote”);


       WHEREAS, following the Shareholder Vote, the Parties met and conferred numerous

times concerning, among other things, certain claims set forth in the Complaint;


       WHEREAS, on January 27, 2020 the Court entered a Stipulation and Order to Extend

Deadline to Respond to the Complaint, which extended Defendants’ deadline to respond to the

Complaint to sixty days after Plaintiff either files and amended complaint or designates the

current Complaint as operative;


       WHEREAS, at Plaintiff’s request, Defendants provided Plaintiff with confidential, non-

public information to assist Plaintiff in evaluating claims alleged in his Complaint;


       NOW, THEREFORE, in light of the Supplemental Disclosures and following an

evaluation of the information provided by Defendants, Plaintiff voluntarily dismisses the claims

in the Action without prejudice. Because this notice of dismissal is being filed with the Court

before service by Defendants of either an answer or a motion for summary judgment, Plaintiff’s

dismissal of the Action is effective upon the filing of this notice.




                                                     2
         Case 1:19-cv-10805-LAK Document 15 Filed 02/21/20 Page 3 of 3




Dated:       February 21, 2020              WEISSLAW LLP



                                       By
                                            Ri h d A.
                                            Richard A Acocelli
                                                       A     lli
                                            1500 Broadway, 16th Floor
                                            New York, NY 10036
                                            Telephone: (212) 682-3025
                                            Fax: (212) 682-3010
                                            Email: racocelli@weisslawllp.com

                                            Attorneys for Plaintiff




                                        3
